UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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JOHN OLIVARRIA,
Plaintiff, 6
Index No 06 cu zt 2 (as ¥)
~ against - Fr
' NOTICE OF REMOVAL
BLOOMBERG L.P.,
Defendant.

x

 

PLEASE TAKE NOTICE that Defendant Bloomberg L.P. (“Bloomberg”), by and
through its undersigned counsel, Willkie Farr & Gallagher LLP, pursuant to 28 U.S.C. §§ 1441
and 1446, submits this Notice of Removal of this action to the United States District Court for
the Southern District of New York from the Supreme Court of the State of New York, County of
New York. In support of this Notice of Removal, Defendant states:

l. On May 30, 2008, Plaintiff John Olivarria filed a Summons and
Complaint in this action in the Supreme Court of the State of New York, County of New York.
The case was assigned the Index No. 107575/08.

2. On or about June 13, 2008, Defendant’s undersigned counsel received by
mail from Plaintiff a copy of the Summons with Complaint, and a request to complete the
enclosed Acknowledgment of Receipt of Summons and Complaint.

3. On June 20, 2008, Defendant mailed to Plaintiff the completed
Acknowledgment. Attached to this Notice of Removal are copies of the Summons, Complaint,

and Acknowledgment.

4. To date, Defendant is aware of no further proceedings in this action.
5, This action is removable to the district court because Plaintiffs Complaint
asserts a civil action based on the laws of the United States -- 42 U.S.C. § 2000e et seg. Pursuant
to 28 U.S.C. § 1331, this Court has original jurisdiction over civil actions arising under the laws
of the United States. Pursuant to 28 U.S.C. §§ 1441(a), 1441(b), and 1441(c), a defendant may
remove a civil action brought in a State court that asserts a claim of which the district courts of
the United States would have original jurisdiction. Such action may be removed to the district
court of the United States for the district and division embracing the place where such action is
pending. Therefore, this action is removable to this Court.

6. Written notice of the filing of this Notice of Removal will be provided to
Plaintiff, and a copy of this notice will be filed in the State court, as required by 28 U.S.C.

§ 1446(d).

7. This Notice of Removal is being filed within 30 days after service of the
Summons and Complaint.

WHEREFORE, Defendant hereby removes this action from the Supreme Court of

the State of New York, County of New York to this Court.
Dated: July 9, 2008

TO:

Clerk of Court

United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

James A. Batson, Esq.
Andrea M. Paparella, Esq.
Liddle & Robinson, L.L.P.
800 Third Avenue

New York, NY 10022

Attorneys for Plaintiff
John Olivarria

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tgolden@willkie.com

Attorneys for Defendant
Bloomberg L.P.
Supreme Court of the Stute of New Bork Index No. 107 S75 /%

 

@aunty of New York Date purchased
JOHN OLIVARRIA, Plaintiff(s) designate(s)
New York

County as the place of trial.

The basis of the venue is
place of employment

Plaintiff
against Summons
BLOOMBERG L.P.,
Plaintiff(s) reside(s) at
227 East 57th Street, Apt. 5F
New York, NY 10022

 

Defendant, ° County of New York

To the above named Defendant’ |

  
 

Bou are hereby Sneete
your answer, or, if the complaint i is not served with
Attormey(s) within 20°

demanded in the complaint.

Dated, May 30, 2008 . me Pen Attorney(s) for Plaintiff

Office and Post Office Address
James A, Batson, Esq.

Defendant’s address: , Andrea M, Paparella, Esq.

Bloomberg LP. KEW y . Liddle & Robinson, L.L.P.

731 Lexington Avenue COUNTY 6 Clee ORK “3 800 Third Avenue

New York, NY 10022 - VECEK'S OFFICg New York, NY 10022
PN 3 @ 259g
STATE OF NEW YORK, COUNTY OF

AFFIDAVIT OF SERVICE
SS: The undersigned, being duly swom, deposes and says: deponent is not a

party herein, is over 18 years of age and resides at

That on at M., at
deponent served the within summons, on defendant,
INOWWIOUAL by delivering a true copy of each to said defendant personally; deponent knew the person so served to be the person described as
1 said defendant therein. , :
CORPORATION a corporation, by delivering thereat a true copy of each to
2 personally, deponent knew said corporation so served to be the corporation described in said summons as said defendant and
knew said individual to be thereof,
iumagteacereason by delivering thereat a true copy of each to a person of suitable age

3.

FFINHG Td DOOR, ETC.

and discretion. Said premises is defendant’s—actual place of business—dwelling place—usual place of abode—within the state,
by affixing a true copy of each to the door of said premises, which is defendant’s—actual place of business—dwelling place—

 

 

 

 

 

 

 

a0 usual place of abode—within the state. Deponent was unable, with due diligence to find defendant or a person of suitable age
and discretion thereat, having called there
Hlrenite Within 20 days of such delivery or affixing, deponent enclosed a copy of same in 4 postpaid envelope properly addressed to
WEWwm30R4 = defendant at defendant's Jast known residence, al . and deposited
sa. C] said envelope in an official depository under the exclusive care and custody of the U.S, Postal Service within New York State.
MAILING TE Within 20 days of such delivery or affixing, deponent enclosed a copy of same in a first class postpaid envelope properly
BUSINESS . ' . .
usewmnaon4 addressed to defendant at defendant's actual place of business, at
58. in an official depository under the exclusive care and custody of the U.S. Postal Service within New York State.
The envelope bore the iegend “Personal and Confidential” and did not indicate on the outside thereof, by return address
or otherwise, that the communication was from an attomey or concerned an action against the defendant.
pesenerTION O Male ) White Skin O BlackHair © WhiteHair O 14-20Yrs. © UnderS’ © Under 100Lbs.
1,2, ORB {] Female [© Black Skin ( Brown Hair, © Balding C} 21-35 Yrs. 1) 5'0"-5°3"  O) 100-130 Lbs.
0 .Yellow Skin © Blonde Hair © Mustache 36-50 Yrs. =) 5°4-5°8" =) 131-160 Lbs,
O Brown Skin [) Gray Hair {Beard C) 51-65 Yrs. +=.) 5°9"-6'0" ©): 161-200 Lbs,
. {) Red Skin C) Red Hair {] Glasses {] Over 65 Yrs. [) Over 6" 1) Over 200 Lbs.
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SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
XK
JOHN OLIVARRIA, : Index No. (O72 S7S i on
Plaintiff, : COMPLAINT
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-apainst- NEW YORE
agains AGH Larry CLERKS OFFICE
BLOOMBERG L-P., cease ae
MAY 20 2008
Defendant.

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GRR Srl ALS

 

Plaintiff John Olivarria, by his attorneys, Liddle & Robinson, L.L.P., for his

Complaint alleges as follows:

THE PARTIES

L. Mr, Olivarria is a gay male. He resides at 227 East 57th Street,
Apartment 5F, New York, New York 10022. Mr. Olivarria was employed by Defendant
Bloomberg L.P. (“Bloomberg”) from 2001 until September 22, 2006.

2. Upon information and belief, Bloomberg is a limited partnership
organized under the laws of Delaware, with its principal place of business located at 73]

Lexington Avenue, New York, New York 10022.

THE NATURE OF THE ACTION

3. This is a civil action for damages and remedies brought under: (1) the

New York State Human Rights Law, N.Y. Exec. Law § 290 et seq.; (2) the New York City
Human Rights Law, N.Y.C. Admin. Code § 8-101 et seg, and (3) Title VI of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000¢ et seq. (“Title VII’).

JURISDICTION AND VENUE

4, Junsdiction is founded upon 28 ‘U.S.C. § 1331 and principles of

supplemental jurisdiction under 28 U.S.C. § 1367.

5. Mr, Olivarria served copies of this Complaint upon the New York City
Commission on Human Rights and the Corporation Counsel prior to filing it in the Supreme
Court of the State of New York, New York County.

6. Venue is proper in this district under 28 U.S.C. § 1391(a) because

Defendant resides in the Souther District of New York.

FACTS

 

7. Mr. Olivarria has been a makeup artist and hair stylist for approximately
twenty years. Through the years, his clients have included Cindy Crawford, Ricky Martin,
Mariah Carey, Nikki Taylor, Kate Moss, Carla Bruni, Charlize Theron, Sandra Bullock, Heather
Locklear, Gisele Bundchen, Ben Stiller, Jack & Christine Wagner, Wendy Mallick, Patti Austin,
Bill Clinton, Benicio del Toro, and Jerry Seinfeld,

8, Mr. Olivarria was employed as a makeup artist and hair stylist by
Bloomberg for approximately five years until Bloomberg terminated his employment on Friday,

September 22, 2006.
9. During his employment, Mr. Olivarria worked within Bloomberg’s
Financial News Division. The location of where the makeup artists and hair stylists work is
referred to at Bloomberg as the Makeup Room.

10. During the entire period Mr. Olivarria was employed at Bloomberg, he

was the only male makeup artist and hair stylist. Indeed, he was the Makeup Room’s only male

employee.

Bloomberg’s Financial News Division

11. Bloomberg’s Financial News Division employs news anchors from
around the world. For example, it employs anchors from Italy, France, and Germany. These

international anchors are referred to as anchor teams — the Italian anchor team, the French

anchor team, the German anchor team.

_ The Brazilian Anchor Team And The
Makeup Room Have A Long History Of Animosity

12 There is a long history of animosity between the Brazilian anchor team

and the Makeup Room.

13. For example, a few years ago, a woman on the Brazilian anchor team
named Dagmar' reported to Human Resources that Sharon Slattery, the manager of the
Makeup Room, had physically pushed her. Ms. Slattery was not terminated as a result of this
incident. Indeed, Ms. Slattery is still employed by Bloomberg in the Makeup Room, where she

continues to interact with the Brazilian anchor team.

 

' Mr. Olivarria cannot recall Dagmar’s last name.
14. During Mr. Olivarria’s employment at Bloomberg, another example of
this animosity was the ongoing heated tension between the Brazilian anchor Denise Barboza
and Melissa “Micky” Williams, a hair stylist and makeup artist who was employed in the
Makeup Room, like Mr. Olivarria. In fact, Ms. Barboza and Ms. Williams’s relationship was
so poor that Ms. Barboza would not come into the Makeup Room if Ms. Williams were
present. Ms. Barboza would not let Ms. Williams do her hair and makeup. Despite the
disruption caused by their turbulent relationship, Bloomberg did not terminate the employment
of Ms. Barboza or Ms. Williams.

15. The animosity between the Makeup Room and the Brazilian anchor
team had been particularly bad for approximately the month and a half long period before
Bloomberg terminated Mr. Olivarria’s employment. It was in this context that Bloomberg
terminated Mr. Olivarria’s employment.

16. Notably, prior to this period, Mr. Olivarria had never been involved in
this animosity. Indeed, Ms. Barboza, who, as described above, did not get along with Ms.
Williams, would call Mr. Olivarria before she came to the Makeup Room to inquire whether
Ms, Williams was present.

17. There finally came a time when Mr. Olivarria was no longer immune
from the turbulent relations between the Makeup Room and the Brazilian anchor team.

18. Apparently, in approximately mid-September 2006, a Brazilian anchor
named Laura? who had just begun employment with Bloomberg reported that Mr. Olivarria

said “the entire Brazilian anchor team should be eliminated.” Mr. Olivarria never said this.

 

? Mr. Olivarria cannot recall Laura’s last name.
19. Mr, Olivarria did say, however, that “[he] wish{ed] [they] could
eliminate the whole problem between the Makeup Room and the Brazilian team.”

20. After Laura made the false report about Mr. Olivarria, Sharon Slattery,
his manager, Mike Manana, a senior manager, Mike Clancy, the Head of Television at
Bloomberg, and Gary Lou, another senior manager, had a meeting to discuss the prospect of
terminating Mr. Olivarria’s employment.

21. Following this meeting, on September 22, 2006, at 11:15 am., Ms,
Slattery and Mr. Manana called Mr. Olivarria into a conference room for a meeting.

22. During this meeting, Ms. Slattery and Mr. Manana questioned Mr.
Olivarria regarding whether he had said “the entire Brazilian anchor team should be
eliminated.” Mr. Olivarria told them “no [he] would never say something like that.”

23, Shortly after the meeting had commenced, Ms. Slattery blurted out the
following statement:

24. “I told them that you’re not that gay. 1 mean you may be a little bit
queeny, but you're not one of those gay guys who are vicious or mean. ...”

25, Mr. Olivarria did not understand why Ms, Slattery made this statement
and he replied, “okay, and...”

26. Mr. Manana then stated:

“They want to fire you, but Sharon and I went to bat for you.

~ We both put our jobs on the line and said, ‘John is very valuable
to this operation. Sharon counts on John to run the Makeup
Room Monday through Friday, 3:45 a.m. to 7:30 am, ... and one
Saturday a month.’ ”

-27. Ms. Slattery then stated that during the earlier meeting regarding the

prospect of terminating Mr. Olivarria’s employment she had added the following comment:
“After five years of loyalty and devotion we can’t just let him go!”

28. Myr. Manana then stated that during the earlier meeting regarding the
prospect of terminating Mr. Olivarria’s employment, the head of Television at Bloomberg, Mike
Clancy, said “This is yet another example of a conflict with the Brazilians versus the Makeup
Room. Let him go.”

29, After Mr. Clancy made this comment, according to Ms. Slattery and Mr.
Manana, they then told Mr. Clancy that they did not want Mr. Olivarria to be fired. Persuaded
by Ms. Slattery and Mr. Manana, it was eventually decided that Mr. Olvarria would be
suspended rather than terminated.

30. This was the message that Ms. Slattery and Mr. Manana gave Mr.
Olivarria during their meeting on September 22, 2006 —- Bloomberg was suspending Mr.
Olivarria, without pay for two weeks.

31. Mr. Olivarria believed Bloomberg’s decision to suspend him was unfair,
Bloomberg believed Laura, who had been employed by Bloomberg for approximately only one
month, over Mr. Olivarria, an employee of approximately five years, Ms. Slattery and Mr.
Manana agreed with Mr. Olivarria and promised him that they would ty to reverse the decision
to suspend him. They then excused Mr. Olivarria from the meeting and told him to go home and
wait for an update.

32. Later that day, at approximately 5:00 p.m., Ms. Slattery called Mr.
Olivarria. She stated: “I’ve been dreading to make this call. I’m sorry, ] did everything I could

... they, they no longer need your services. I really went to bat for you, but they just decided
they don’t need your services. The Brazilian girls say you make them feel ‘uncomfortable.’ I’m
so sorry, John. I feel terrible, but this is their decision.”

33. | Mr. Olivarria could not believe it. He said to Ms, Slattery, “You've got to
be kidding me. Sharon you’re not serious.”

34. Ms. Slattery, in tears, said “It’s not right, it’s just not fair. Two new
anchors from Brazi] and then you get fired. It’s not fair that you got the bum wrap.”

35. Upon information and belief, at all relevant times, the people at
Bloomberg who made the decision to terminate Mr. Olivarria’s employment were aware that Mr.
Olivarria is gay.

Bloomberg Discriminated Against Mr. Olivarria —
The Only Male In The Makeup Room

36. Mr. Olivarria believes Bloomberg discriminated against him on the basis
of his gender and sexual orientation when it terminated his employment.

37. Mr. Olivarria is the only male in the Makeup Room.

38. After all of the repeated conflicts between the makeup room and the
Brazilian anchor team, he was the only employee of the Makeup Room whose employment
Bloomberg terminated.

39. Throughout his employment with Bloomberg, he was qualified for his
position and performed his job at a level that met or exceeded Bloomberg’s expectations.
Indeed, prior to the above-described incident when a false report was made against him,
Bloomberg had never questioned his performance nor did it ever inform him of any complaint

made about him.
Many Anchors At Bloomberg Were Outraged
About Bloomberg’s Termination Of Mr. Olivarria’s Employment

40, Many anchors at Bloomberg were outraged about Bloomberg’s
termination of Mr. Olivarria’s employment. Indeed, quite a few anchors at Bloomberg called
him personally to express their outrage. He also received calls and e-mails of support and
reports of outrage and protest from other members of the staff.

41, Encouraged by the support he received, Mr. Olivarria called
Bloomberg’s Human Resources Department (“HR”) for instructions on how to appeal the
termination decision. HR informed him that he had no right to appeal the decision because he
was “an independent contractor ... and that it was simply a case of your services no longer
being needed.”

42, Mr. Olivarria responded to HR that many members of the staff were
saying that his services were in fact very much needed and that as someone who worked full
time for five years, he must have at least some nghts. HR refused to assist him.

Mr. Olivarria Suffered Damages As A Result
Of Bloomberg Terminating His Employment

43. Mr. Olivarria suffered damages as a result of Bloomberg terminating his
employment.

' 44, Prior to Bloomberg terminating his employment, Mr. Olivarria earned
approximately $100,000.00 per year.

45. Mr. Olivarria could not secure steady employment for approximately ten

months after Bloomberg terminated his employment.
46. | When Mr. Olivarria finally found new employment, it was for much less
compensation.
47, In addition to losing income, Mr. Olivarria also suffered humiliation as a

result of Bloomberg unlawfully terminating his employment.

FIRST CAUSE OF ACTION
(Discrimination on the Basis of Sex and Sexual Orientation
Under the New York State Human Rights Law)

48. Mr. Olivarria repeats and re-alleges the allegations contained in paragraphs |
through 47 as if separately set forth herein.

49, At all relevant times, Mr. Olivarria was an “employee” of Bloomberg for
purposes of §§ 292 and 296 of the New York State Human Rights Law.

50. Bloomberg is an “employer” for purposes of §§ 292 of the New York
State Human Rights Law.

51. By its actions detailed above, Bloomberg has discriminated against Mr.
Olivarria on the basis of his sex and sexual orientation.

52. As a result of Bloomberg’s actions, Mr. Olivarria has suffered substantial
damages, including but not limited to emotional pain and mental anguish and lost wages and
benefits, in amounts to be determined at tnal.

53. The treatment of Mr. Olivarria constituted willful discrimination because of

Mr. Olivarria’s sex and sexual! orientation in violation of § 296 of the New York State Human

Rights Law.
SECOND CAUSE OF ACTION
(Discrimination on the Basis of Sex and Sexual Orientation
Under the New York City Human Rights Law)

54, Mr. Olivarria repeats and re-alleges the allegations contained in paragraphs
1 through 53 as if separately set forth herein.

55, Mr. Olivarria is a “person” under § 8-102(1) of the New York City Human
Rights Law,

56. Upon information and belief, Bloomberg is an “employer” subject to the
provisions of the New York City Human Rights Law under § 8-102(5) of the Administrative Code.

57. By its actions detailed above, Bloomberg discriminated against Mr.
Olivarria on the basis of his sex and sexual orientation.

58, The treatment of Mr. Olivarria constitutes willful discrimination on the
basis of sex and sexual orientation in violation of § 8-107 of the New York City Human Rights
Law.

59. By reason of the foregoing, Mr. Olivarria has suffered substantial

damages, including but not limited to emotional] pain and mental anguish and lost wages and

benefits, in amounts to be determined at trial,

60. Upon information and belief, Bloomberg’s discriminatory conduct was
taken with reckless indifference to Mr. Olivarria’s rights, entitling him to punitive damages

under § 8-502 of the New York City Human Rights Law,

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THIRD CAUSE OF ACTION
(Discrimination on the Basis of Sex under Title VI)

61. Mr. Olivarria repeats and re-alleges the allegations contained in paragraphs |
through 60 as if separately set forth herein.

62. At all relevant times, Mr. Olivarria was an “employee” of Bloomber under
Title VIL, 42 U.S.C. § 2000e(f). |

63. Upon information and belief, Bloomberg is an “employer” under Title VI,
42 U.S.C. § 2000e(b).

64. By its actions detailed above, Bloomberg discriminated against Mr.
Olivarria because of his sex in violation of Title VI, 42 U.S.C. § 2000e-2(a).

65. As aresult of Bloomberg’s actions, Mr. Olivarria has suffered substantial
damages, including lost wages and benefits and emotional distress, in amounts to be determined

at trial.

66. | Upon information and belief, Bloomberg’s discriminatory conduct was
engaged in with malice and/or reckless indifference to Mr. Olivarria’s federally protected rights.

Mr. Olivarria is therefore entitled to punitive damages under Title VIL
WHEREFORE, Plaintiff demands judgment against Defendant as follows:

A. On the First Cause of Action, back pay and benefits and front pay and
benefits, plus compensatory and punitive damages, attorneys” fees, costs and interest, all in amounts

to be determined at trial,

i]
B, On the Second Cause of Action for violation of the New York State

Human Rights Law, back pay, front pay or reinstatement, plus compensatory damages, costs and

pre-judgment interest, all in amounts to be determined at trial;

C. On the Third Cause of Action for violation of the New York City Human

Rights Law, back pay, front pay or reinstatement, plus compensatory and punitive damages,

attomeys’ fees, costs and pre-judgment interest, all in amounts to be determined at trial; and

D~. All such other and further relief as this Court deems just and proper.

Dated: New York, New York
May 30, 2008

LIDDLE & ROBINSON, L.L.P.

(pial

James A. Batson
Andrea M. Paparella
800 Third Avenue

New York, New York 10022
(212) 687-8500

    

Attorneys for Plaintiff
 

 

Index No. 107575/08

SUPREME COURT OF THE STATE OF NEW YORK.
COUNTY OF NEW YORK

 

 

JOHN OLIVARRIA,
Plaintiff,

-against-

BLOOMBERG L.P.,

Defendant.

 

 

SUMMONS AND COMPLAINT

 

 

 

 

Attomeys for Plaintiff

LIDDLE & ROBINSON, L.L.P.
800 THIRD AVENUE
NEW YORK, NEW YORK 10022
(212) 687-8500

 

 

 

 
